             Case 1:12-cv-02097-CCC Document 2 Filed 10/23/12 Page 1 of 1
                          UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF PENNSYLVANIA
                              FEDERAL BUILDING & COURTHOUSE
                               228 WALNUT STREET , P.O. BOX 847
                                  HARRISBURG , PA 17108-0847
                                 ____________________________

                                       OFFICIAL BUSINESS
CHRISTOPHER C. CONNER                                                              TEL (717) 221-3945
        JUDGE                                                                      FAX (717) 221-3949

                                         October 23, 2012

Craig Thor Kimmel, Esquire
Kimmel & Silverman
30 East Butler Pike
Ambler, PA 19002

       Re:    Dennis Rittle v. Enhanced Recovery Company, LLC
              Civil Action No. 1:12-CV-2097

       The referenced action has been assigned to me. If service of the initial pleading is not
made within the time allotted by the rules of procedure, a status report shall be submitted to the
court addressing the reasons for the delay and the course of action being taken.

        Once joinder of this matter has been accomplished, the court will issue an order setting a
time and date for a mandatory conference between counsel for all parties and the court. Such a
conference is mandated by Rule 16 of the Federal Rules of Civil Procedure. The purpose of this
conference is to establish deadlines for the management of this case. The order scheduling the
conference will inform the parties in more detail of their responsibilities in preparation for this
conference. Accordingly, it is essential that the answer (or other responsive pleading/motion) be
filed in the time provided for in the Federal Rules of Civil Procedure. To this end, counsel, as
well as pro se litigants, are admonished not to enter into agreements for extensions of time
without also seeking court approval. The court will not honor such agreements standing alone.

       The parties are advised to comply fully with Rule 26 and other provisions of the Federal
Rules of Civil Procedure. Counsel shall not cease active discovery efforts pending disposition of
a motion to dismiss.

      Any inquiries you have concerning this case and its progress should be directed to
Kimberly McKinney, Deputy Clerk of Court, P.O. Box 983, Federal Building, Harrisburg,
Pennsylvania, telephone number (717) 221-3941.

                                           Sincerely,

                                            S/ Christopher C. Conner
                                           CHRISTOPHER C. CONNER
                                           United States District Judge
cc:    Clerk of Court
